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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

GERARD JULES,

                            Petitioner,

vs.                                                Case No. 2:06-cv-54-FtM-29DNF
                                                      Case No. 2:03-cr-114-FTM-29
UNITED STATES OF AMERICA,

                    Respondent.
___________________________________


                                   OPINION AND ORDER

      This matter comes before the Court on petitioner’s Motion

Under 28 U.S.C. § 2255 to Vacate, Set Aside, or correct Sentence by

a Person in Federal Custody (Doc. #1), filed on January 25, 2006.

Petitioner’s        sole        argument      is      based     on   the     Apprendi1/

Booker2/Blakely3 line of cases.

                                             I.

      On October 1, 2003, the grand jury returned a five-count

Indictment (Doc. #19) charging petitioner and his co-defendant with

various      offenses    involving         cocaine    base,     crack   cocaine.      On

December      31,   2003,       pursuant     to   a   Plea    Agreement    (Doc.   #35),

defendant      entered      a    plea   of   guilty     as    to   Count   One   of   the

Indictment, charging him with knowingly and willfully conspiring to

possess with intent to distribute and to distribute fifty (50) or


      1
          Apprendi v. New Jersey, 530 U.S. 466 (2000).
      2
          United States v. Booker, 543 U.S. 220 (2005).
      3
          Blakely v. Washington, 542 U.S. 296 (2004).
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more grams cocaine base, crack cocaine. Defendant was sentenced to

151 months of imprisonment, 60 months of supervised release, and a

$100.00 special assessment.       Judgment (Doc. #56) was entered on

April 13, 2004.   Defendant did not file a direct appeal and has not

previously sought habeas relief. The current petition under § 2255

was filed almost two years after the entry of the Judgment.

                                    II.

     Federal prisoners whose convictions became final after April

24, 1996, the effective date of the Antiterrorism and Effective

Death Penalty Act of 1996 (AEDPA), have one year from the latest of

any of four events to file a § 2255 motion: (1) the date on which

the conviction became final; (2) the date on which any government-

imposed impediment to making the motion is removed; (3) the date on

which the right asserted was initially recognized by the Supreme

Court, if that right has been newly recognized by the Supreme Court

and made retroactively applicable to cases on collateral review; or

(4) the date on which the facts supporting the claim or claims

presented could have been discovered through the exercise of due

diligence.   28 U.S.C. §2255; see also Pruitt v. United States, 274

F.3d 1315, 1317 (11th Cir. 2001).

     It is clear that petitioner’s § 2255 motion was not filed

within one year after his conviction became final.            Petitioner’s

conviction became final ten days after the filing of the original

Judgment on April 23, 2004.        Mederos v. United States, 218 F.3d

1252, 1253 (11th Cir. 2000).      Giving petitioner the benefit of the
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“mailbox rule,” Houston v. Lack, 487 U.S. 266 (1988), Washington v.

United States, 243 F.3d 1299, 1301 (11th Cir. 2001), the Court will

deem   the   §2255    motion    filed    on    January       10,    2006,   the   date

petitioner      signed   the    motion     while      incarcerated.          Even   so

construed, the §2255 motion was filed almost one year and nine

months after the expiration of the statute of limitations.

       The second event which may start the statute of limitations is

“the date on which the impediment to making a motion created by

governmental action in violation of the Constitution or laws of the

United States is removed.”        28 U.S.C. § 2255. Defendant identifies

no government-imposed impediment to filing his §2255 motion, much

less    makes     a   showing    that      the       governmental       action      was

unconstitutional. See Akins v. United States, 204 F.3d 1086, 1090-

91 (11th Cir.), cert. denied, 531 U.S. 971 (2000).

       As to the third event, the Eleventh Circuit summarized the

required showing in Garcia v. United States, 278 F.3d 1210, 1212-13

(11th Cir.), cert. denied, 537 U.S. 895 (2002).                    The Supreme Court

has not recognized any new right which has been held to apply

retroactively to a defendant whose conviction became final prior

to the decision.      The fourth event has not been shown to apply to

this case.       Finally, defendant has not established any basis to

find that the limitations period was equitably tolled.                      Equitable

tolling is appropriate when a motion is untimely filed because of

extraordinary     circumstances     that       are    both    beyond    defendant’s

control and unavoidable even with diligence.                       Jones v. United

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States, 304 F.3d 1035, 1039 (11th Cir. 2002), cert. denied 538 U.S.

947 (2003).    Defendant has not satisfied his burden in this case.

     Because defendant did not file his motion within one year of

any of the four events set forth in §2255, and has not shown any

equitable reason to toll the limitations period, his motion is

untimely and is therefore time-barred.

                                   III.

     The Eleventh Circuit has held “that Booker’s constitutional

rule falls squarely under the category of new rules of criminal

procedure that do not apply retroactively to § 2255 cases on

collateral review.”     Varela v. United States, 400 F.3d 864, 867-68

(11th Cir.)(citing Schriro v. Summerlin, 124 S. Ct. 2519, 2526-27

(2004)), cert. denied, 126 S. Ct. 312 (2005).             See also United

States v. Moreno, 421 F.3d 1217, 1220 (11th Cir. 2005); United

States v. Rodriguez, 406 F.3d 1261, 1280 (11th Cir. 2005)(“[n]o

circuit, . . . has yet to suggest that Booker is retroactively

applicable to collateral proceedings, . . . [and], it is highly

unlikely that any will.”).       Since petitioner’s case became final

prior to Booker, the issue cannot be raised in a § 2255 petition.

                                    IV.

     Because   defendant    is   proceeding   pro   se,   the   Court   must

construe his request for post-conviction relief liberally, United

States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997), and consider

all possible bases of authority even though none may be identified


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by defendant.       United States v. Jordan, 915 F.2d 622, 624-25 (11th

Cir. 1990), cert. denied, 499 U.S. 979 (1991).                The Court has no

inherent power to correct an illegal sentence, but rather must look

to the specific parameters of federal statutes and the Federal

Rules of Criminal Procedure. United States v. Diaz-Clark, 292 F.3d

1310, 1315 (11th Cir. 2002), cert. denied, 539 U.S. 951 (2003).

The Court finds no basis for authority to reduce or vacate the

sentence in this case and no procedural mechanism to preserve an

argument     before    it   is   recognized   by   the    Supreme      Court   as

retroactive. See Avila v. United States, Case No. 2:05-cv-266-FTM-

29DNF, 2005 WL 3467670, *3-5 (M.D. Fla. Dec. 19, 2005).4

     Accordingly, it is hereby

     ORDERED AND ADJUDGED:

     1.     Petitioner’s Motion Under 28 U.S.C. 2255 to Vacate, Set

Aside, or correct Sentence by a Person in Federal Custody (Doc. #1)

is DISMISSED.

     2.       The   Clerk   shall   enter   judgment     in   the    civil   case

accordingly, and close the file.        The Clerk shall file a certified

copy of the judgment in the associated criminal case.

     DONE AND ORDERED at Fort Myers, Florida, this                  2nd   day of

February, 2006.




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         Slip Copy attached.
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